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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


 UNITED STATES OF AMERICA                                   PLAINTIFF/RESPONDENT

 v.                          Criminal No. 10-50110-003

 JUAN SANCHEZ-SANCHEZ                                              DEFENDANT/MOVANT


                                     O R D E R

       Now on this 31st day of July, 2013, comes on for consideration

 the Magistrate Judge's Report and Recommendation (document #210)

 entered by United States Magistrate Judge Setser in this matter,

 and the Objection[s] to Report and Recommendation of Magistrate

 Judge (document #219) of Juan Sanchez-Sanchez.                The Court, having

 carefully reviewed said Report and Recommendation (hereinafter "R

 & R") as well as the objections thereto, finds as follows:

       1.     Before this Court is petitioner Juan Sanchez-Sanchez's

 Habaes Corpus petition which was filed on February 27, 2012,

 pursuant to 28 U.S.C. § 2255.             By way of background, the Court

 notes the following:

       (a)    On January 13, 2011, Sanchez-Sanchez was named in one

 count of a four-count Second Superseding Indictment filed in the

 United States District Court for the Western District of Arkansas.

 Count      One   charged    with   Sanchez-Sanchez         with    conspiring    to

 distribute more than 50 grams of a mixture or substance containing

 methamphetamine, in violation of Title 21 U.S.C. §§ 841(a)(1) and

 (b)(1)(A)(viii), and Title 21 U.S.C. § 846.
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       (b)     On April 21, 2011, a pretrial conference was conducted

 and the case proceeded to trial, with a jury being selected and the

 trial set to begin the following morning.

       (c)     On   the    morning   of    April    13,   2011,        counsel      for    the

 Government and Sanchez-Sanchez advised the Court that they had

 entered into       a     Plea   Agreement.    Pursuant        to    the     written      Plea

 Agreement, Sanchez-Sanchez waived indictment and pled guilty to an

 Information        charging       him     with     conspiracy          to     distribute

 methamphetamine, in violation of 21 U.S.C. §§ 841(a) and 846.                             On

 August   4,    2011,      Sanchez-Sanchez        was   sentenced        to   240    months

 imprisonment, 5 years supervised release, a $25,000.00 fine, and a

 $100 special assessment.

       (d)     On August 18, 2011, Sanchez-Sanchez filed a Notice of

 Appeal from the Judgment, asserting that his plea was not knowing

 and voluntary, that he was sentenced "on the wrong criminal history

 category level" and the "wrong level according to weight."                                The

 Eighth Circuit Court of Appeals found that any challenge to the

 voluntariness of Sanchez-Sanchez's appeal was not cognizable on

 direct appeal because Sanchez-Sanchez did not move to withdraw his

 plea in the district court.             The Court further reviewed the record

 independently under Penson v. Ohio, 488 U.S. 75 (1988), and found

 no nonfrivoulous issues for appeal and affirmed the District

 Court's judgment. Also on appeal, Sanchez-Sanchez's counsel moved,

 and was allowed to withdraw.
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       2.     On February 27, 2012, Sanchez-Sanchez filed the instant

 pro se Motion to Vacate under 28 U.S.C. § 2255.             Sanchez-Sanchez

 appears to raise the following grounds for relief:

       *    the Plea Agreement was involuntary because Sanchez-Sanchez

 does not speak English, and therefore, "did not understand what was

 happening to him;"

       * Sanchez-Sanchez's appointed counsel was ineffective because

 his counsel "failed to bring to the Judge's attention, the amount

 of drugs involved in this case," resulting in a greater base

 offense level; and,

       *    he was entitled to a three-level reduction for acceptance

 of responsibility;

       3.     The R & R now before the Court recommends that Sanchez-

 Sanchez's 28 U.S.C. § 2255 motion be denied in its entirety and

 dismissed with prejudice.

       4.     Sanchez-Sanchez has filed objections to the R&R.               The

 objections restate and rehash the arguments submitted in the

 initial pleading.

       5.     Based upon the Magistrate Judge's thorough and well-

 reasoned comments, the Court finds that there is no merit to

 Sanchez-Sanchez's arguments and the same should be overruled.

       6.    In light of the foregoing, the R&R will be approved and

 adopted as stated -- and will be ordered implemented.

       IT IS THEREFORE ORDERED that the Objection[s] to Report and

 Recommendation of Magistrate Judge (document #219) are overruled.
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       IT IS FURTHER ORDERED that the Magistrate Judge's Report and

 Recommendation (document #210) is adopted in toto.

       IT IS FURTHER ORDERED that Sanchez-Sanchez is denied relief on

 his § 2255 motion, as the grounds stated are without merit, and

 this matter is dismissed with prejudice.

       IT IS FINALLY ORDERED that the Court hereby declines to issue

 a certificate of appealability as Sanchez-Sanchez has not made a

 “substantial showing of the denial of a constitutional right,” as

 required for the issuance of a certificate of appealability.                 28

 U.S.C. §    2253(c)(2).

       IT IS SO ORDERED.

                                          /s/Jimm Larry Hendren
                                          HON. JIMM LARRY HENDREN
                                          UNITED STATES DISTRICT JUDGE
